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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

Plaintiff, NO, CR-15-4268 JB
VS.
ANGEL DELEON,
Defendant.
SCHEDULING ORDER

 

The Court, having granted the motion by the United States and the defendant to declare
this case complex, and considering the parties’ proposed scheduling order, hereby imposes the
following deadlines, without objection from the parties, in this case:

1. December 2, 2019 Discovery by the government

(except for government’s continuing duty to disclose)

2. April 6, 2020: Fed. R, Crim. P, 12 substantive motions;
3. April 27,2020: . Responses to Fed. R. Crim. P. 12 substantive motions;
4, May 4, 2020: Reciprocal discovery by the defendant (except for the

defendant’s continuing duty to disclose);
5. June 8, 2020: Expert witness notices and reports; Fed. R. Crim.
P. 16 discovery motions; Fed. R. Crim. P. 7(f) motions:
6. July 6, 2020: Responses to Fed. R. Crim. P. 16 discovery motions and
Rule 7(f) motions; Objections to expert witness notices,
7, July 20, 2020: Responses to objections to expert witness notices.
8. August 10, 2020: Daubert motions,

9. August 24, 2021: Responses to Daubert motions; Notices of defenses

 
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pursuant to Fed. R. Crim. P. 12.1 and 12.3.

10. September 8, 2020: Responses to notices of defenses; motions in limine; Fed.
R. Evid. 404(b) notices; jury instructions and proposed voir
dire.

11. September 22, 2020: Responses to motions in limine; objections to jury
instructions and proposed voir dire;

12, October 9, 2020: Witness lists and exhibit lists;

13, October 26, 2020: Jury Selection/Trial at 9:00 a.m., Federal Courthouse, Las
Cruces, New Mexico.

The Court further orders that the United States shall continually make available discovery
on an ongoing basis, and make available to the defendant by the time required by the applicable
law all material for which disclosure is mandated by Giglio v. United States, 405 U.S. 150 (1972)
and the Jencks Act, 18 U.S.C. § 3500.

The Court further orders, pursuant to 18 U.S.C. § 3161(h)(7)(B) (ii), that the time between

the entry of this Order and the trial date is excluded for the purposes of the Speedy Trial Act

computation. (Qh.
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UNINED STATES DISTRIOT JUDGE

 
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After weighing the best interests of the public and of the Defendant with the ends of justice,
the Court finds that granting a continuance will strike a proper balance between the ends of
justice and the best interests of the public and of the Defendant for the reasons stated in the
motion requesting a continuance, filed October 30, 2019 (Doc. 2959). Specifically, the
complexity of the case, continuing disclosure of discovery, and continuing investigation of
discovery, outweighs the Defendant’s and the public's interest in a speedy trial. See 18
U.S.C. Section 3161(h}(7). The pretrial motion deadline is October 19, 2019. The Court will
set the trial for October 26, 2020 at 9:00 a.m. (trailing docket). This 329-day continuance is
sufficient, without being greater than necessary, for the Defendant to complete the tasks set
forth in the motion to continue.

 

 
